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                             United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

    JASON LEE VAN DYKE                           §
                                                 §
    v.                                           §    CIVIL ACTION NO. 4:18cv247
                                                 §    (Judge Mazzant)
    THOMAS RETZLAFF                              §

                                               ORDER

           Pending before the Court is Defendant’s Motion to Reconsider Denial of ECF Access (dkt.

.   #11) (Dkt. #15). On May 9, 2018, an Appearance of Counsel (Dkt. #37) was filed on behalf of

    Defendant.

           It is therefore ORDERED that Defendant’s Motion to Reconsider Denial of ECF Access

    (dkt. #11) (Dkt. #15) is DENIED as moot.
         SIGNED this 25th day of May, 2018.




                                      ___________________________________
                                      AMOS L. MAZZANT
                                      UNITED STATES DISTRICT JUDGE
